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                                 UNITED STATES DISTRICT COURT
 1                               NORTHERN DISTRICT OF INDIANA
 2
     ERIK SILGUERO,                                 )
                                                    ) Case No.: 3:18-cv-00544-JD-MGG
 3                  Plaintiff,                      )
                                                    )
 4          v.                                      )
                                                    ) ELECTRONICALLY FILED
 5
                                                    )
                                                    )
 6   CAPITAL ONE BANK (USA) N.A.,                   )
                                                    )
 7                  Defendant.                      )
                                                    )
 8

 9          Plaintiff Erik Silguero (“Plaintiff”) and Defendant Capital One Bank (USA), N.A.

10   (“Defendant”), pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to the

11   dismissal of all of Plaintiff’s claims in this action against Defendant WITH PREJUDICE, with

12   each party to bear its own costs and fees.
13
     JOINTLY SUBMITTED:
14

15
     /s/ Jeffrey D. Pilgrim (with permission)          /s/ Andrew K. Homan
     Jeffrey D. Pilgrim                                Andrew K. Homan
16
                                                       Homan Legal
     PILGRIM CHRISTAKIS LLP
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     Email: jpilgrim@pilgrimchristakis.com
20   COUNSEL FOR DEFENDANT

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                                     JOINT STIPULATION OF DISMISSAL
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 1                                  CERTIFICATE OF SERVICE

 2          I certify that on December 18, 2019 a true and correct copy of the foregoing JOINT

 3   STIPULATION OF DISMISSAL WITH PREJUDICE was filed using the CM/ECF system,
 4
     which will provide notice to the following:
 5
     Jeffrey D. Pilgrim
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                                                               By: /s/ Andrew K. Homan
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                                    JOINT STIPULATION OF DISMISSAL
